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10   (additional counsel listed below)
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                            UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13
      In re: ZF-TRW Airbag Control Units     )   Case No.: 2:19-ml-02905-JAK-PLA
14    Products Liability Litigation          )
                                             )   MDL No. 2905
15
      ALL CASES                              )
16                                           )   John A. Kronstadt (U.S.D.J.)
                                             )   Paul L. Abrams (U.S.M.J.)
17
                                             )
18                                           )   JOINT STATUS REPORT FOR
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                                             )   JUNE 21, 2022 STATUS
                                             )   CONFERENCE
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               JOINT STATUS REPORT FOR JUNE 21, 2022 CONFERENCE
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1          Pursuant to the Court’s Order of March 25, 2022 (Dkt. 430), the parties 1 submit this
2    Joint Status Report in advance of the June 21, 2022 status conference. The parties identify
3    below the primary issues they believe merit the Court’s attention but will be prepared to
4    discuss other items as the Court desires. 2
5    I.    RULE 12(b) BRIEFING SCHEDULE
6          On May 26, 2022, Plaintiffs filed their Consolidated Amended Class Action
7    Complaint (the “Amended Complaint”). ECF 477, 477-1, 477-2. Each Defendant signing
8    below intends to move to dismiss the Amended Complaint in whole or in part pursuant to
9    Rule 12(b). The parties have met and conferred about a briefing schedule and agree to the
10   following, which they ask the Court to enter:
11         A.     Dual Tracking of Briefing
12         As the Court is aware, the Toyota defendants have indicated a willingness to engage
13   in settlement discussions overseen by Settlement Special Master Patrick A. Juneau and the
14   Court has ordered his appointment. See ECF 493. After discussions with the Toyota
15   Defendants and Plaintiffs, the Hyundai-Kia Defendants have also agreed to engage in the
16   Special Master Juneau-led negotiations. Because such discussions could lead to settlements
17   that eliminate the need for Toyota and Hyundai-Kia (and any other Defendants who wish
18   to participate in such discussions) to ever file any motions to dismiss, Plaintiffs, Toyota,
19   and Hyundai-Kia propose two sets of briefing schedules—one for the Toyota Defendants,
20
21
     1
       All parties agree that filing the joint status report does not cause any party to waive its
22
     rights to contest personal jurisdiction in the above-captioned action. Insofar as
23   STMicroelectronics, Inc. contends it has not appeared in this litigation, Plaintiffs dispute
     that contention.
24
     Plaintiffs have not yet served STMicroelectronics S.r.l. or STMicroelectronics SDN BHD
25   but are working on coordinating service on these entities and have offered a similar
26   stipulation regarding service to counsel for ST Inc. Plaintiffs will confer with those parties
     about whether a separate briefing schedule is necessary as part of their service effort.
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     2
       Consistent with the directive on the Court’s website, the Parties understand that the
28   June 21, 2022 status conference will proceed by Zoom.

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1    Hyundai-Kia Defendants and any other Defendant Groups 3 who agree to engage in
2    settlement discussions overseen by Special Master Juneau, and another for all other
3    Defendants. The other Defendants (who are not presently planning to participate in the
4    process overseen by the Special Master) do not object to this structure.
5          B.     Proposed Schedules
6                 1.     Schedule for Defendants Not Participating in Special Master Process
7          For those Defendants who are not participating in the Special Master process, the
8    parties propose the following briefing schedule:
9                 a. Defendants file motions to dismiss and supporting briefs by August 2,
10                     2022,
11                b. Plaintiffs file their opposing briefs by October 10, 2022, and
12
                  c. Defendants file their reply briefs by November 15, 2022.
13
14                2.     Schedule for Defendants Participating in Special Master Process

15         For the Toyota Defendants and other Defendant Groups 4 who agree to engage in

16   settlement negotiations overseen by Special Master Juneau, the parties agree that such

17   Defendants should have an additional 120 days from the filing of the Amended Complaint,

18   such that:

19                a. Those Defendants file motions to dismiss and supporting briefs by

20                     September 23, 2022,

21                b. Plaintiffs file their opposing briefs by November 22, 2022, and
22                c. Those Defendants file their reply briefs on January 6, 2023.
23
24
     3
       The Defendant Groups are (i) the “ZF Defendants,” (ii) the “Hyundai-Kia Defendants,”
25   (iii) FCA US LLC, (iv) the “Toyota Defendants,” (v) the “Honda Defendants,” (vi) the
26   “Mitsubishi Defendants,” as defined in Plaintiffs’ First Amended Consolidated Complaint,
     ¶¶ 23–63, (vii) STMicroelectronics, Inc., and (viii) Hyundai Mobis Co., Ltd.
27
     4
      After discussions with the Toyota Defendants and Plaintiffs, the Hyundai-Kia Defendants
28   have also agreed to engage in the Special Master Juneau-led negotiations.

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1          The negotiating parties further agree that if significant progress is being made in
2    settlement mediations as the filing deadline approaches, those parties will stipulate to a
3    further extension of the filing date, in the hope that the parties are able to reach class-wide
4    settlements and obviate the need to ever file motions to dismiss.
5    II.   PAGE LIMITS FOR RULE 12(b) BRIEFING
6          The parties have conferred and jointly agree to the following page limits for
7    forthcoming motions, which they ask the Court to enter:
8          1.     Defendants’ Rule 12 Motions and Opening Briefs.
9                 a.     Defendants may file a joint brief in support of their motions of no more
10                       than 50 pages.
11                b.     Each Defendant Group may also file a supplemental brief in support of
12                       its motion. Such briefs shall be filed separately and shall not exceed 30
                         pages per Defendant Group.
13
           2.     Plaintiffs’ Opposition Briefs.
14
15                a.     Plaintiffs may file a brief of no more than 50 pages in opposition to
                         Defendants’ joint brief.
16
                  b.     Plaintiffs may also file separate oppositions to each Defendant Group’s
17                       supplemental briefs. Such oppositions shall be filed separately and shall
18                       not exceed 30 pages per Defendant Group.
19         3.     Defendants’ Replies.
20
                  a.     Defendants may file a joint reply in support of their motions of no more
21                       than 25 pages.
22                b.     Each Defendant Group may also file a supplemental reply in support of
23                       its motion. Such replies shall be filed separately and shall not exceed
                         15 pages per Defendant Group.
24
25         For Defendant Groups who participate in the special master process and are not part
26   of any joint briefing, Plaintiffs agree to confer with such Defendants prior to filing of their
27   motions to discuss appropriate page limits for briefing regarding those Defendants’
28   motions.

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1    III.   MOTIONS TO STAY DISCOVERY
2           ZF and ST Inc. have informed Plaintiffs they will likely move to stay discovery in
3    this litigation pending resolution of ZF’s and ST Inc.’s forthcoming motions to dismiss.
4    Plaintiffs have informed them they will vigorously oppose those motions. Plaintiffs and
5    ZF have agreed that Chief Magistrate Judge Abrams should decide ZF’s motion to stay.
6    Plaintiffs contend Chief Magistrate Judge Abrams should also decide ST Inc.’s motion to
7    stay. ST Inc. has not yet taken a position on this issue.
8           Plaintiffs and ZF have agreed upon the following briefing schedule in the event ZF
9    files a motion to stay discovery:
10          1.    ZF will file an opening brief not to exceed 15 pages on June 17, 2022,
11          2.    Plaintiffs will file an opposition brief not to exceed 15 pages on July 1, 2022,
12                and
13
            3.    ZF will file a reply brief not to exceed 8 pages on July 8, 2022.
14
15          Plaintiffs and ST Inc. have agreed upon the following briefing schedule in the event

16   ST Inc. files a motion to stay discovery:

17          1.    ST Inc. will file an opening brief not to exceed 15 pages on the same date it

18                moves to dismiss, which would be August 2, 2022 using the above proposed

19                schedule,

20          2.    Plaintiffs will file an opening brief not to exceed 15 pages two weeks after the
21                filing of the motion to stay discovery, which would be August 16, 2022 using
22                the above proposed schedule, and
23          3.    ST Inc. will file a reply brief not to exceed 8 pages one week after the filing
24                of Plaintiffs’ opposition, which would be August 23, 2022 using the above
25                proposed schedule.
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1          At this time, no other domestic Defendant intends to move to stay discovery, but to
2    the extent such Defendant later wishes to do so, it will meet and confer with Plaintiffs on
3    an appropriate briefing schedule and page limits.
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1                              SIGNATURE OF CERTIFICATION
2          Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other signatories listed,
3    and on whose behalf the filing is submitted, concur in the filing’s content and have
4    authorized the filing.
5
6     DATED: June 13, 2022                       /s/ Matthew Regan
                                                 Matthew Regan
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1                                 CERTIFICATE OF SERVICE
2          I certify that on June 13, 2022, a copy of the foregoing JOINT STATUS REPORT
3    FOR JUNE 21, 2022 STATUS CONFERENCE was served electronically through the
4    Court’s electronic filing system upon all Parties appearing on the Court’s ECF service list.
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6
7     DATED: June 13, 2022                    /s/ Matthew Regan
                                              Matthew Regan
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